  Case 16-00185         Doc 13    Filed 01/13/17 Entered 01/13/17 16:37:43          Desc Main
                                    Document     Page 1 of 3



                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 In re:                                           )   Chapter 7
                                                  )
 CALUMET PHOTOGRAPHIC, INC., et al.               )   Case No. 14-08893
                                                  )   (Jointly Administered)
 Debtors.                                         )
                                                  )   Hon. Deborah L. Thorne
                                                  )
 CATHERINE STEEGE, as Trustee for                 )
 Calumet Photographic, Inc.,                      )
                                                  )
                                 Plaintiff,       )
                                                  )   Adv. No. 16-00185
           v.                                     )
                                                  )
 AMERITAS LIFE,                                   )
                                                  )
                                 Defendant.       )

                 NOTICE OF DISMISSAL OF ADVERSARY PROCEEDING

          Catherine Steege (the “Trustee”), not individually, but as the chapter 7 Trustee for the

bankruptcy estates of Calumet Photographic, Inc., et al., as Plaintiff herein, by and through her

undersigned counsel, hereby gives notice of the voluntarily dismissal of the above-captioned

adversary complaint.
Case 16-00185      Doc 13      Filed 01/13/17 Entered 01/13/17 16:37:43         Desc Main
                                 Document     Page 2 of 3



                                          Respectfully submitted,

Dated: January 13, 2017                   CATHERINE STEEGE, not individually but as
                                          the chapter 7 Trustee for the bankruptcy estate of
                                          the above-captioned debtor.

                                          By:     /s/ Catherine Steege
                                                      Catherine Steege
Catherine Steege (6183529)
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Counsel for the Chapter 7 Trustee




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  Case 16-00185       Doc 13     Filed 01/13/17 Entered 01/13/17 16:37:43          Desc Main
                                   Document     Page 3 of 3



                                 CERTIFICATE OF SERVICE

       I, Catherine Steege, an attorney, certify that on January 13, 2017, I caused a copy of the

foregoing Notice of Dismissal of Adversary Proceeding to be served by first class U.S. mail

postage prepaid on:


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                                                            /s/ Catherine Steege
                                                                Catherine Steege
